                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION

                                                     )
                                                     )
EPIC GAMES, INC. and EPIC GAMES                      )
INTERNATIONAL S.à.r.l.,                              )
                                                     )
                  Plaintiffs,                        )          Civil Action No.: 5:17-cv-511-FL
                                                     )
v.                                                   )
                                                     )
B             B          ,                           )
                                                     )
                  Defendant.                         )

     PLAINTIFF EPIC GAMES INC.’S STATUS REPORT REGARDING SERVICE OF
                                  PROCESS


        Plaintiff Epic Games, Inc. (“Epic”) submits the following status report to inform the

Court as to Epic’s efforts to serve Defendant B                 B        (“Defendant”) in the above-

captioned case.


        1.        Epic filed the complaint on October 10, 2017. (D.E. 1.) As pleaded in the

Complaint, on information and belief, Defendant is a citizen and resident of Canada. (Compl.,

D.E. 1, at ¶ 12.)

        2.        On October 11, 2017, the Court issued a summons to Defendant and directed

counsel for Epic to “print the attached summonses and serve with other case opening documents

in accordance with Fed. R. Civ. P. 4.” (D.E. 6.)

        3.        Fed. R. Civ. P. 4(m) requires, inter alia, that a plaintiff properly serve a defendant

“within 90 days after the complaint is filed.” However, Rule 4(m) makes an exception for

service in a foreign country. Specifically, it provides: “[t]his subdivision (m) does not apply to

service in a foreign country under Rule 4(f)”. Fed.R.Civ. P. 4(m). Fed.R.Civ.P. 4(f) addresses

“Serving an Individual in a Foreign Country” and does not contain any time limit for service.
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See id. Because it is Plaintiff’s good faith, informed belief that Defendant is a citizen and

resident of Canada—as reflected on the summons issued by this Court—the 90-day time limit

prescribed in Rule 4(m) does not apply to service of Defendant in this matter.

       4.        The Fourth Circuit has held the Rule 4(m)’s time limit does not apply where a

corporate defendant is located in a foreign country. See U.S. ex rel. Walterspiel v. Bayer AG,

639 F. App’x 164, 167 (4th Cir.) (“Fed.R.Civ.P. 4(m)’s 120–day time limitation for completing

service of process did not apply because Bayer AG was a foreign corporation.”).

       5.        Although it appears that this Court has not had occasion to address this issue

within the facts present in the instant context, other courts in the Fourth Circuit have held that,

where a defendant is being served outside of the United States, the 90-day time limit does not

apply. See U.S. ex. rel. Walterspiel v. Bayer A.G., No. 1:12-CV-773, 2014 WL 7332303, at *7,

n.11 (M.D.N.C. Dec. 19, 2014) (“The federal rules give no specific time limit on service outside

of the United States . . ..”) (internal citations and quotations omitted); A Love of Food I, LLC v.

Maoz Vegetarian USA, Inc., No. CIV.A. AW-10-2352, 2011 WL 4102084, at *4 (D. Md. Sept.

13, 2011) (providing that, because the plaintiff had to effectuate service in a foreign country, “the

[then] 120-day time period for service of process does not apply in the case at bar”).

       6.        However, the time allowed for service is not unlimited: the plaintiff must act with

diligence. See U.S. ex rel. Walterspiel, 639 F. App’x at 167 (holding that plaintiff could not

avail itself of the exception to the time limit provided by Rule 4(m) where no attempt to

effectuate service had been made in the case’s five-year pendency); A Love of Food I, LLC,

2011 WL 4102084, at *4 (holding that the exception to the time limit provided by Rule 4(m) was

applied in cases where the plaintiffs “act with diligence” and have made a “reasonable, good

faith effort to attempt service abroad” within the prescribed time period and also holding that the


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exception did not apply to a plaintiff who had not made “a single attempt to effectuate service

abroad within a ten-to-eleven month period” after discovering that the defendants were located

abroad.).

       7.        Here, Epic has diligently attempted service on Defendant several times, beginning

the very day the summons was issued by the Court. As evidenced by the Declaration of Helen

Bolton, attached hereto as Exhibit A (“Bolton Declaration”), a Canadian process server

attempted personal service at Defendant’s residence three times. (Exh. A at ¶¶ 1-5.) Further, the

process server spoke with Defendant’s landlord who stated that Defendant had moved. (Id. at ¶

5.) Epic also engaged a second process server and investigator to attempt to locate Defendant.

(See Declaration of Gianni Donatucci, attached hereto as Exhibit B.) He conducted a skip trace

but was unable to locate Defendant. (See id. at ¶¶ 1-3.)

       8.        Epic is continuing to attempt to locate and properly serve Defendant. Because

Epic is tasked with effectuating service in Canada and has made diligent, good faith attempts at

service during the Rule’s prescribed time period, the 90-day time limit set out by the Rule does

not apply. See Fed. R. Civ. P. 4(f); U.S. ex rel. Walterspiel, 639 F. App’x at 167; A Love of Food

I, LLC, 2011 WL 4102084, at *4.

       9.        Epic will continue to provide the Court with status reports as necessary.


       This 8th day of January, 2018.




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                                      PARKER POE ADAMS & BERNSTEIN LLP

                                      /s/Christopher M. Thomas
                                      Christopher M. Thomas
                                      N.C. Bar No. 31834
                                      christhomas@parkerpoe.com
                                      PNC Plaza
                                      301 Fayetteville Street, Suite 1400 (27601)
                                      P.O. Box 389
                                      Raleigh, North Carolina 27602-0389
                                      Telephone:     (919) 835-4626
                                      Facsimile:     (919) 834-4564

                                      Attorneys for Plaintiff Epic Games, Inc.




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                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing PLAINTIFF’S STATUS REPORT

REGARDING SERVICE OF PROCESS was electronically filed this day with the Clerk

of Court and is available to defendant via PACER. A copy will be served on Defendant as

soon as we are able to ascertain a way to serve him, at which point undersigned counsel will

file an amended certificate of service.


       This the 8th day of January, 2018.



                                            PARKER POE ADAMS & BERNSTEIN LLP

                                            /s/Christopher M. Thomas
                                            Christopher M. Thomas
                                            N.C. Bar No. 31834
                                            christhomas@parkerpoe.com
                                            Tasneem D. Delphry
                                            tasneemdelphry@parkerpoe.com
                                            N.C. Bar No. 47697
                                            PNC Plaza
                                            301 Fayetteville Street, Suite 1400 (27601)
                                            P.O. Box 389
                                            Raleigh, North Carolina 27602-0389
                                            Telephone:     (919) 835-4626
                                            Facsimile:     (919) 834-4564

                                            Attorney for Plaintiff Epic Games, Inc.




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